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                               Exhibit 2
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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

MARK MARKO,

           Plaintiff,                                                       Case No.: 1:25-cv-05134

v.                                                                          Judge Lindsay C. Jenkins

HANGZHOU NIURUI MATERIALS, et al.,

           Defendants.

                                          AMENDED COMPLAINT

           Plaintiff, MARK MARKO (“Marko” or “Plaintiff”), by Plaintiff’s undersigned counsel,

hereby complains of “HANGZHOU NIURUI MATERIALS » the Partnerships and

Unincorporated Associations identified as Defendant No. 1 on Amended Schedule A attached

hereto (the collectively, “Defendants”), and for Plaintiff’s Amended Complaint1 hereby alleges as

follows:

                                        JURISDICTION AND VENUE

           1.       This Court has original subject matter jurisdiction over the claims in this action

pursuant to the provisions of the Federal Copyright Act, 17 U.S.C. § 101, et seq., 28 U.S.C. §

1338(a)–(b), and 28 U.S.C. § 1331.

           2.       Venue is proper in this Court pursuant to 28 U.S.C. § 1391, and this Court may

properly exercise personal jurisdiction over Defendants since each of the Defendants directly

targets consumers in the United States, including Illinois, through at least the fully interactive

commercial internet stores operating under the Defendant aliases and/or the online marketplace

accounts identified in Amended Schedule A attached hereto (collectively, the “Defendant Internet



1
    Attached hereto as Exhibit 2 is a redline version of this Amended Complaint.

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Stores”). Venue is proper in any district in which Defendant resides or may be found which

includes any district in which itthey would be subject to personal jurisdiction. See 28 U.S.C. §

1391(b)(3). On information and belief, Defendant is not a resident of the United States, which

means that itthey may be sued in any judicial district pursuant to 28 U.S.C. § 1391(c)(3)Federal

Rule of Civil Procedure 4(k)(2) confers personal jurisdiction over Defendants because the claims

asserted herein arise under federal copyright law, Defendants would not be subject to jurisdiction

in any state’s courts of general jurisdiction, and exercising jurisdiction is consistent with the United

States Constitution and laws.

                                         INTRODUCTION

        3.      Plaintiff, Mark Marko, is the owner of the federal copyright registration that

protects the creative content of Plaintiff’s photographs. Marko is a photographer and designer. He

started making pottery with his wife under the name “Leily Cloud,” which quickly developed into

a family business. They created a variety of ceramic mushroom products. Plaintiff carefully

considers angles, lighting, and placement of the various objects to take photographs to showcase

and market his family business’s products.

        4.      This action has been filed by Plaintiff to combat an online copyright infringers who

hasve reproduced and displayed Plaintiff’s copyrighted photographs without authorization.

Defendantts trades upon Plaintiff’s reputation, goodwill, and valuable copyright by selling and/or

offering for sale products using Plaintiff’s photographs in their its online listings.

        5.      Plaintiff is the owner of United States Copyright Registration No. VA 2-335-575

(the “Mark Marko Work”) and the registration is attached hereto as Exhibit 1. Upon information

and belief, the copyright has an effective date that predate the Defendant’s’ acts of copyright

infringement.



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       6.      Defendant is an individual or business entity who, upon information and belief,

resides in a foreign jurisdiction. Defendant operates at least one Defendant Internet Store and used

the Mark Marko Work without authorization to make illegal profit. Defendant conducts business

in the United States and has offered for sale and sold products to United States consumers,

including in Illinois and this judicial districtDefendants have created numerous Defendant Internet

Stores and used the Mark Marko Work without authorization to make illegal profit.

       7.      Plaintiff is forced to file this action to combat Defendant’s’ piracy of the Mark

Marko Work. Plaintiff has been irreparably damaged by Defendant’s infringement and seeks

injunctive and monetary relief The Defendant Internet Stores share unique identifiers, such as

design elements and similarities of the unauthorized products offered for sale, establishing a

logical relationship between them and suggesting that Defendants’ illegal operations arise out of

the same transaction, occurrence, or series of transactions or occurrences. Defendants attempt to

avoid liability by going to great lengths to conceal both their identities and the full scope and

interworking of their illegal operation. Plaintiff is forced to file this action to combat Defendants’

piracy of the Mark Marko Work.

                                        THE PLAINTIFF

       8.      Plaintiff, Mark Marko, is the owner of the Copyright Registration that protects the

creative content of the Mark Marko Work. Plaintiff is a photographer and designer. Plaintiff

created a variety of ceramic mushroom products with his wife, Aksana Marko. They started

making pottery several years ago under the name “Leily Cloud,” which quickly developed into a

family business. For the photographs at issue, Plaintiff carefully considers angles, lighting, and

placement of the various objects to take photographs to showcase and market his family business’s

products.



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        https://leilycloud.com/collections/all?sort_by=best-selling

        9.      Plaintiff is the owner of the United States Copyright Registration that covers the

Mark Marko Work. The Registration is valid, subsisting, and in full force and effect. A true and

correct copy of the registration certificate is attached hereto as Exhibit 1.

        10.     Marko has invested substantial time, money, and effort in building up and

developing consumer awareness, goodwill, and recognition in products advertised and marketed

using the Mark Marko Work.

        11.     As a result of Plaintiff’s efforts, the quality of authorized products marketed with

the Mark Marko Work, the promotional efforts for products and designs that are authorized to use

the Mark Marko Work, press and media coverage, and social media coverage, members of the

public have become familiar with the Mark Marko Work and associate it exclusively with Plaintiff.

        12.     Marko has made efforts to protect Plaintiff's interests in and to the Mark Marko

Work. No one other than Marko and his family business is authorized to reproduce, display,

advertise, create derivative works, offer for sale, or sell any goods utilizing, advertising, marketing,



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featuring, or otherwise using the Mark Marko Work without the express written permission of

Plaintiff.

        THE DEFENDANTS AND THE DEFENDANT’S’ UNLAWFUL CONDUCT

        13.     Defendants are is an individuals and business entityies who, upon information and

belief, reside in the People’s Republic of China or other foreign jurisdictions. Defendants conducts

business throughout the United States, including within Illinois and in this judicial district, through

the operation of the fully interactive commercial websites and online marketplaces operating under

the Defendant Internet Stores. Each Defendant targets the United States, including Illinois and has

copied and displayed and, on information and belief, continues to copy and display without

authorization the photographs protected by the Mark Marko Work to consumers within the United

States, including Illinois and in this judicial district.




                                        COUNT I
                                 COPYRIGHT INFRINGEMENT

        14.     Plaintiff repeats and incorporates by reference herein the allegations contained in

the above paragraphs of this Amended Complaint.

        15.     The Mark Marko Work is an original work and is copyrightable subject matter

under 17 U.S.C. § 101 et seq.

        16.     At all relevant times, Plaintiff has been the holder of the pertinent exclusive rights

infringed by Defendants, as alleged hereunder, including but not limited to the Mark Marko Work,

including derivative works. The Mark Marko Work us the subject of a valid Copyright Registration

Certificate issued by the Register of Copyrights. (Exhibit 1).




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       17.     Each Defendant had access to the Mark Marko Work via the internet, where the

design appears on Plaintiff’s authorized websiteDefendant, without the permission or consent of

Plaintiff, has and continues to reproduce and display pirated photographs and derivative works of

the copyrighted Mark Marko Work. Each Defendant has violated at least Plaintiff’s exclusive

rights of reproduction and display. Each Defendant’s actions constitute infringement of Plaintiff’s

exclusive rights protected under the Copyright Act (17 U.S.C. §101 et seq.).

       18.     Defendant’s product listing reproduces the Mark Marko Work or is derived from

the Mark Marko Work:

  Plaintiff’s Mark Marko Work                          Defendant’s Infringing Image




       19.     Defendant, without the permission or consent of Plaintiff, has reproduced and            Formatted: Indent: Left: 0", First line: 0.5", Numbered
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displayed pirated photographs and derivative works of the copyrighted Mark Marko Work.                  Alignment: Left + Aligned at: 0.25" + Indent at: 0.5"


Defendant has violated at least Plaintiff’s exclusive rights of reproduction and display. Defendant’s

actions constitute infringement of Plaintiff’s exclusive rights protected under the Copyright Act

(17 U.S.C. §101 et seq.).


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        20.      Defendant’s actions constitute willful copyright infringement in violation of 17

U.S.C. §§ 106 and 501(a).

        21.      Defendant reaps the benefits of its unauthorized copying in the form of revenue and

other profits from the sale of products using Plaintiff’s photographs in its online listings.

        22.      As a result of Defendant’s infringement of Plaintiff’s exclusive rights under

copyright, Plaintiff is entitled to relief pursuant to 17 U.S.C. §504 and to Plaintiff’s attorneys’ fees

and costs pursuant to 17 U.S.C. §505.

        1.       Pursuant to 17 U.S.C. §502, Plaintiff is entitled to injunctive relief prohibiting

Defendant from further infringing Plaintiff’s copyrightAs a result of each Defendant’s

infringement of Plaintiff’s exclusive rights under copyright, Plaintiff is entitled to relief pursuant

to 17 U.S.C. §504 and to Plaintiff’s attorneys’ fees and costs pursuant to 17 U.S.C. §505.

        2.23.    Pursuant to 17 U.S.C. §502, Plaintiff is entitled to injunctive relief prohibiting each

Defendant from further infringing Plaintiff’s copyright.

                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

        1) That Defendants, theitsir affiliates, officers, agents, employees, attorneys, and all

persons acting for, with, by, through, under, or in active concert with itthem be permanently

enjoined and restrained from:

        a. Using, copying, and displaying the Mark Marko Work or any reproductions, copies, or

              colorable imitations thereof in any manner;

        b. further infringing the Mark Marko Work and damaging Plaintiff’s goodwill; and

        d. using, linking to, transferring, selling, exercising control over, or otherwise owning the

              Defendant Internet Stores, or any other online marketplace account that is being used



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              to make unauthorized copies or reproductions or being used to display without

              authorization any photograph or image that is derived from Plaintiff’s copyright in the

              Mark Marko Work;

         2) For Judgment in favor of Plaintiff against Defendants that they it hasve: a) willfully

infringed Plaintiff’s rights in Plaintiff’s federally registered copyright pursuant to 17 U.S.C. §501;

and b) otherwise injured the business reputation and business of Plaintiff by Defendant’s’ acts and

conduct set forth in this Amended Complaint;

         3) For Judgment in favor of Plaintiff against Defendants for actual damages or statutory

damages pursuant to 17 U.S.C. §504, at the election of Plaintiff, in an amount to be determined at

trial;

         4) That Plaintiff be awarded Plaintiff’s reasonable attorneys’ fees and costs; and

         5) Award any and all other relief that this Court deems just and proper.

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         5)                                                                                              Formatted: Indent: Left: 0", First line: 0.5", Outline
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DATED: June 3, 2025June 2, 2025May 30, 2025                                   Respectfully
submitted,
                                                       /s/ Keith A. Vogt
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                                                       ATTORNEY FOR PLAINTIFF




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